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Case 2'04-CV-02220-BBD-STA Document 42 Fl|ed 08/25/05 Page 1 of 2 Page|D 4

FIL.E£;T) ¢:; % o.c.

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TE]WVESSEE95 AU@ 25 PH 2: n
WESTERN DIVISION ;l,,_- »

 
  
  

 

     

 

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EDMOND LINDSEY JUDGMENT IN A CIVIL CASE
'V-
MEMPHIS-SHELBY COU'NTY CASE N'O: 04-2220-])

AIRPORT AUTHORIT`Y

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDER.ED AND ADJ'UDGED that in accordance with the Order
Granting Defendant's Motion For Su.mma.ry J‘udg'ment And Denyinq
Plaintiff's Motion For Su:mrnary Judgment entered on August 18, 2005,
this cause is hereby dismissed.

APPROVED :

mM.GOULD

 

 

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This notice confirms a copy of the document docketed as number 42 in
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Honorable Bernice Donald
US DISTRICT COURT

